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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
vs. Case No.: 24-cr-00057-GKF-1
Morgan Cole Womack , WAIVER OF JURY TRIAL
Defendant.

COMES NOW the undersigned defendant, and having been fully apprised of my rights, do hereby
WAIVE my SIXTH AMENDMENT RIGHTS to a jury INALL RESPECTS both as to guilt or innocence and

as to sentencing.
Accordingly, I hereby CONSENT that all matters in the above styled and numbered

criminal proceedings be determined by the Court in accordance with Rule 23, Federal Rules of Criminal

Morgan ColWomack 5 Defendan| /

ZEAE ~

Attorney for Defendant”

CONSENT OF GOVERNMENT:

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Assistant United States/Atte¢ney

Signed and approved in open court on 7/10/2024.

Procedure.

Mark T. Steele, U.S. Magistrate Judge

Arraignment_Change Of Plea MJ_Felony (11/2021)
